









Dismissed and Opinion filed December 18, 2003









Dismissed and Opinion filed December 18, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01085-CV

____________

&nbsp;

JOHNNY WILLIAMS BOWERS,
Appellant

&nbsp;

V.

&nbsp;

PENNY LYNN BOWERS, Appellee

&nbsp;



&nbsp;

On Appeal from the 257th
District Court

Harris County, Texas

Trial Court Cause No.
02-57769

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment allegedly signed September
12, 2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On November 13, 2003, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed December 18, 2003.

Panel consists of Justices Yates,
Hudson, and Fowler.

&nbsp;





